









Dismissed and Opinion filed July 25, 2002









Dismissed and Opinion filed July 25, 2002.

&nbsp;

In The

&nbsp;

Fourteenth Court of Appeals

____________

&nbsp;

NO. 14-02-00096-CV

____________

&nbsp;

HARRY VOWELL, Appellant

&nbsp;

V.

&nbsp;

MUSTANG RENTAL SERVICES, INC., Appellee

&nbsp;



&nbsp;

On
Appeal from the County Civil Court at Law No. 1

Harris
County, Texas

Trial
Court Cause No. 736,049

&nbsp;



&nbsp;

O
P I N I O N

This is an appeal from a judgment
signed October 16, 2001.

On July 22, 2002, appellant filed a motion to dismiss the
appeal because the case has been settled.&nbsp;
See Tex. R. App. P. 42.1.&nbsp; The motion is granted.

Accordingly, the appeal is ordered dismissed.&nbsp; 

PER CURIAM

Judgment rendered and Opinion
filed July 25, 2002.

Panel consists of Justices Fowler,
Edelman, and Guzman. 

Do Not Publish C Tex. R. App. P.
47.3(b).&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; 





